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 8                       IN THE UNITED STATES DISTRICT COURT

 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,         )
                                       ) CR. No. S-02-366 LKK
12                  Plaintiff,         )
                                       ) ORDER RE: SCHEDULING STATUS
13             v.                      ) CONFERENCE, AND EXCLUDING
                                       ) TIME UNDER SPEEDY TRIAL ACT
14   JAIME GUERRA ROSAS,               )
                                       ) Date: August 23, 2005
15                  Defendant.         ) Time: 9:30 a.m.
     __________________________________) Ctrm: Hon. Lawrence K. Karlton
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17         On August 2, 2005, the Court held a status conference in this

18   case.   Assistant United States Attorney William S. Wong appeared on

19   behalf of plaintiff, United States of America.           Dina Santos, Esq.,

20   appeared with defendant Jaime Guerra Rosas, who was in custody.

21         At the request of the defendant, this Court granted a

22   continuance for a further status conference and/entry of plea to

23   August 23, 2005, at 9:30 a.m.        The Court further excluded time from

24   August 2, 2005, to, and including, August 23, 2005, from computation

25   of time within which the trial of this matter must be commenced

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           Case 2:02-cr-00366-LKK Document 107 Filed 08/16/05 Page 2 of 2

 1   pursuant to Local Code T4 (to allow the defense counsel reasonable

 2   time to go over the plea agreement with the defendant).

 3                                               MCGREGOR W. SCOTT
                                                 United States Attorney
 4

 5   DATED: August 15, 2005            By:       /s/ William S. Wong
                                                 WILLIAM S. WONG
 6                                               Assistant U.S. Attorney

 7
     ____________________________________________________________________
 8
                                        ORDER
 9
     IT IS SO ORDERED
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11   DATED: August 16,2005                       /s/Lawrence K. Karlton
                                                 HONORABLE LAWRENCE K. KARLTON
12                                               United States District Judge

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